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            IN THE UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CARL CHATMAN                       )
                                   )
     Plaintiff,                    )
                                   )
          v.                       )
                                   )
City of Chicago, Chicago Police    )
Detective John Roberts, Chicago    )
Police Detective Thomas McGreal,   )
Chicago Police Detective Maria     )
Pena, Chicago Police Detective     )
Jack Boock, Chicago Police         )
Detective Rita Mischka, Chicago    )
Police Detective Barbara Midona,   )
Chicago Police Sergeant Dennis     )
Walsh, Chicago Police Officer      )
Michael Karczewski, Chicago Police )
Officer Richard Griffin, Chicago   )
Police Lieutenant Joseph Joria,    )
Chicago Police Sergeant Bryan      )
Holy, Cook County Sheriff’s Deputy )
Michael Cokeley, Cook County       )
Sheriff’s Deputy Joseph Prince,    )
Cook County Sheriff’s Deputy       )
Sergeant Maria Mokstad, Cook       )
County Sheriff’s Deputy Lieutenant )
Burrough Cartrette, Assistant      )
State’s Attorney Brian Holmes and )
unknown Chicago Police Officers    )
and unknown Cook County Sheriff’s )
Deputies, the County of Cook,      )
Thomas Dart, in his official       )
capacity as Sheriff of Cook        )
County, and Anita Alvarez, in her )
official capacity as Cook County   )
State’s Attorney, and Susan Riggio,)
                                   )
     Defendants.                   )              JURY TRIAL DEMANDED
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                                  COMPLAINT

     Plaintiff, CARL CHATMAN, by his attorneys, Loevy & Loevy,

for his complaint against the Defendants, City of Chicago,

Chicago Police Detective John Roberts, Chicago Police Detective

Thomas McGreal, Chicago Police Detective Maria Pena, Chicago

Police Detective Jack Boock, Chicago Police Detective Rita

Mischka, Chicago Police Detective Barbara Midona, Chicago Police

Sergeant Dennis Walsh, Chicago Police Officer Michael

Karczewski, Chicago Police Officer Richard Griffin, Chicago

Police Lieutenant Joseph Joria, Chicago Police Sergeant Bryan

Holy, and unknown Chicago Police Officers, along with the County

of Cook, Assistant State’s Attorney Brian Holmes, Cook County

Sheriff’s Deputy Michael Cokeley, Cook County Sheriff’s Deputy

Joseph Prince, Cook County Sheriff’s Deputy Sergeant Maria

Mokstad, Cook County Sheriff’s Deputy Lieutenant Burrough

Cartrette, unknown Cook County Sheriff’s Deputies, Thomas Dart

in his official capacity as Sheriff of Cook County, and Anita

Alvarez in her official capacity as Cook County State’s

Attorney; together with Susan Riggio, states as follows:

                                Introduction

     1.    Carl Chatman spent more than eleven years in prison

for a rape he did not commit.


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     2.    Not only did Mr. Chatman not commit the rape for which

he was wrongfully convicted, but the rape never even occurred at

all. The purported victim made up an account of having been

raped in Chicago’s Daley Center so that she could bring a law

suit for money damage against the company responsible for the

building’s security.

     3.    This marked the second time this same woman had

fabricated rape charges in order to bring a legal action against

a building security company for illicit financial gain.

     4.    After the purported rape victim made up the story of

having been attacked in the Daley Center, the Defendants

proceeded to “solve” the crime. Specifically, in their

zealousness to obtain a swift conviction in a high-profile case,

the Defendant Chicago Police Officers took advantage of Mr.

Chatman’s mental instability and coerced him to falsely confess

to a crime that never actually happened.

     5.    In this way, and based on the resulting false

“confession,” these Defendants caused Mr. Chatman to be

wrongfully convicted to a crime that never even occurred.

     6.    The State of Illinois eventually came to recognize

that Mr. Chatman’s confession was false, and that his conviction

was wrongful. In September 2013, the Cook County State’s

Attorney’s Office voluntarily dismissed all charges against Mr.

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Chatman, and the State of Illinois granted Mr. Chatman a

Certificate of Innocence.

     7.    Mr. Chatman’s exoneration came after he spent over

eleven years as an innocent man in prison. Given his mental

state, Mr. Chatman was particularly vulnerable to the worst

elements of prison, and his experience there was devastating to

his emotional health.

     8.    Through this lawsuit, Mr. Chatman seeks accountability

and compensation for losing more than a decade of his life due

to Defendants’ misconduct.

                          Jurisdiction and Venue

     9.    This action is brought pursuant to 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiff’s rights

as secured by the United States Constitution.

     10.   This Court has jurisdiction over federal claims

pursuant to 28 U.S.C. 1331 and state law claims pursuant to 28

U.S.C. 1367.

     11.   Venue is proper under 28 U.S.C. § 1391(b). Plaintiff

resides in this judicial district and Defendant City of Chicago

is a municipal corporation located here. Additionally, the

events giving rise to the claims asserted herein occurred within

this judicial district.



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                                 The Parties

     12.   Plaintiff Carl Chatman is 59 years old. He is a

veteran of the United States Army.

     13.   Defendant Susan Riggio is a resident of Illinois.

     14.   At all relevant times, Defendants John Roberts, Thomas

McGreal, Maria Pena, Jack Boock, Rita Mischka, Barbara Midona,

Michael Karczewski, Richard Griffin, Sergeant Dennis Walsh,

Lieutenant Joseph Joria, Sergeant Bryan Holy, and unknown

Chicago police officers were Chicago police officers employed by

the City of Chicago and acting within the scope of their

employment and under color of law.

     15.   At all relevant times, Defendants Michael Cokeley,

Joseph Prince, Sergeant Maria Mokstad, Lt. Burrough Cartrette,

and unknown Deputies of the Cook County Sheriff’s Department

were Deputies employed by the Cook County Sheriff and acting

within the scope of their employment and under color of law.

     16.   At all relevant times, Defendant Brian Holmes was an

Assistant State’s Attorney employed by the Cook County State’s

Attorney’s Office and acting within the scope of his employment

and under color of law.

     17.   Defendants John Roberts, Thomas McGreal, Maria Pena,

Jack Boock, Rita Mischka, Barbara Midona, Michael Karczewski,

Richard Griffin, Sergeant Dennis Walsh, Sergeant Bryan Holy,

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Lieutenant Joseph Joria, Michael Cokeley, Joseph Prince,

Sergeant Maria Mokstad, Lt. Burrough Cartrette, unknown Chicago

police officers and unknown Deputies of the Cook County

Sheriff’s Department are referred to collectively as the “Law

Enforcement Defendants.”

     18.    The Defendant City of Chicago is a municipal

corporation under the laws of the State of Illinois.

     19.    Defendant Thomas Dart is the current Sheriff of Cook

County, Illinois. He is sued in his official capacity.

     20.    Defendant Anita Alvarez is the current State’s

Attorney for Cook County, Illinois. She is sued in her official

capacity.

     21.    Defendant Cook County is a county of the State of

Illinois. Cook County is obligated by Illinois statute to pay

any judgment entered against Defendant Dart or Defendant Alvarez

in their official capacities.

                            Factual Background

     22.    Carl Chatman was born in 1954 and grew up in Chicago

with his two sisters and brother.

     23.    At the age of 20, Mr. Chatman married and enlisted in

the military. At the conclusion of his military service, Mr.

Chatman returned to Chicago, where he and his wife had a son.

     24.    By the turn of the new millennium, Mr. Chatman had

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fallen on hard times. He was an easily confused and extremely

vulnerable man.

                 Defendant Riggio Targets Mr. Chatman

     25.   During the week of May 20, 2002, Mr. Chatman went to

the Daley Center to investigate how to file a small claims suit.

     26.   At the Daley Center, Mr. Chatman eventually made his

way to the 21st floor.

     27.   At the time, Defendant Susan Riggio, age 50 at the

time, worked as a scheduling clerk for Judge Bartkowicz, who sat

in courtroom 2101 at the Daley Center.

     28.   By happenstance, Mr. Chatman entered Judge

Bartkowicz’s courtroom looking for assistance. There, he

encountered Defendant Riggio.

     29.   After a very brief interaction, Mr. Chatman left

without incident. At the time, he was wearing a Blackhawks

jacket and street clothes.

     30.   Based on this encounter, Defendant Riggio knew what

Mr. Chatman looked like, and also knew that he was a defenseless

and guileless individual, who would not fare well if falsely

accused. He was, in short, the perfect target for her plan.

                                Riggio’s Plan

     31.   Shortly before May 20, 2002, Defendant Riggio had

received notice from the IRS that she was to be audited for her

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prior tax filings.

     32.   At the time, Defendant Riggio was also under severe

financial pressures. She and her husband had been gambling

heavily, and had experienced over $500,000 in losses in the year

2000 alone. Defendant Riggio was also intent on divorcing her

husband.

     33.   Faced with these financial pressures, Defendant Riggio

concocted a plan to falsely claim that she had been raped inside

the Daley Center, thereby enabling her to sue various entities

responsible for the Daley Center’s security.

     34.   Defendant Riggio had engaged in the exact same scheme

some 20 years earlier. In 1979, facing different financial

pressures, Defendant Riggio falsely claimed that she was raped

inside a downtown office building in the early morning hours,

before anyone else had arrived to work. Defendant Riggio then

sued the building’s management and received a cash settlement.

     35.   Having succeeded in the 1970s with a bogus civil suit

against a building manager based on a false accusation of rape,

Defendant Riggio decided to pull the same scam all over again.

This time, Mr. Chatman was her victim.

                           The False Allegation

     36.   On May 24, 2002, Defendant Riggio went to work very

early. Although not scheduled to work until 8:30 a.m., she

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arrived at the Daley Center at 7 a.m., long before any of her

co-workers arrived. She did so notwithstanding that it was the

Friday before the Memorial Day weekend holiday, and the judge

for whom she worked was out of town.

     37.   Defendant Riggio claimed that at approximately 7:20

a.m., while she was alone in her office behind courtroom 2101,

Mr. Chatman appeared with his penis exposed and said words to

the effect of, “the judge fucked me and now I’m going to fuck

you, bitch.”

     38.   According to Defendant Riggio, she fought with her

attacker, screaming for help, and was then raped in her vagina

and anus. She claimed that during the altercation, she fought

for her life with her attacker and had her head beaten against a

table and scissors held to her throat.

     39.   When one of Defendant Riggio’s co-workers, Jeannette

Neibauer, arrived for work, Riggio told her about the alleged

attack, whereupon Neibauer called the police.

     40.   When the police officers arrived, Defendant Riggio

falsely claimed that Mr. Chatman was the man who raped her, and

provided the responding officers with a description of an

African American man in the Blackhawks jacket (Mr. Chatman) who

had been seen on her floor earlier in the week.



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                           Mr. Chatman’s Arrest

     41.    Shortly after Defendant Riggio reported the crime, a

flash message went out to members of the police department,

alerting them to look for a potential suspect in the Loop area

described as a black male with salt and pepper hair wearing a

Blackhawks jacket.

     42.    Before long, Mr. Chatman was located walking around

the downtown area wearing his Blackhawks jacket. He is African

American and had salt and pepper hair.

     43.    After finding him, Officers arrested Mr. Chatman at

approximately 8:30 a.m.

     44.    At the time he was arrested, Defendant Officers

Griffin and Karczewski falsely claimed that Mr. Chatman said he

was coming from the Daley Center. This allegation was false. Mr.

Chatman was not at the Daley Center on the morning of the 24th,

and he did not claim that he was.

                      Mr. Chatman’s Vulnerabilities

     45.    When not properly medicated, Mr. Chatman suffers from

a mental illness that interferes with his ability to function

properly. He experiences disorganized thoughts, pressured

speech, and an inability to think in a linear or logical matter

at times.

     46.    At the time of his interrogation sessions with the

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various Defendants, Mr. Chatman was having difficulty

communicating in a logical and linear fashion due to his then-

existing mental condition.

       47.   As a result of Mr. Chatman’s inability to communicate

in a normal manner, it was immediately obvious to any person who

questioned Mr. Chatman at any point on May 24 or May 25, 2002,

that he was suffering from cognitive deficiencies and symptoms

of unmedicated mental illness.

                    Mr. Chatman’s False “Confession”

       48.   Following his 8:30 a.m. arrest, Mr. Chatman was

brought to Area 4 Detective Headquarters and questioned by

Defendant Detectives Mischka and Boock.

       49.   Mr. Chatman had never in his life previously been

accused of a crime involving violence, and has never committed

one.

       50.   During his interrogation by Defendants Mischka and

Boock, Mr. Chatman initially maintained his innocence and did

not implicate himself.

       51.   At approximately 10:30 p.m., Defendant Detective

Roberts began interrogating Mr. Chatman.

       52.   When Defendant Roberts began his interrogation, the

pressure to obtain a confession from Mr. Chatman was mounting.

Per her plan, Defendant Riggio publicized the (false) attack.

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The rape of a woman inside the Daley Center in the heart of the

Loop had by then generated a tremendous amount of media

attention. There existed a belief among each of Defendants

Roberts, Holmes, Mischka, Boock, Midona, and Walsh that getting

Mr. Chatman to confess was the surest way to obtain a speedy

resolution.

     53.   During the interrogation, Defendant Roberts used force

and threats of force to coerce Mr. Chatman to confess.

     54.   Before Mr. Chatman confessed, Defendants ASA Holmes,

Detective Midona, and Sergeant Walsh joined Defendant Roberts in

his interrogation of Mr. Chatman.

     55.   Defendants Roberts, Holmes, Midona, and Walsh observed

Mr. Chatman’s obvious cognitive deficiencies and symptoms of

mental illness. Rather than take steps to ensure Mr. Chatman was

truly and freely agreeing to confess, these Defendants took

advantage of his diminished capacity and mental vulnerabilities,

and continued their interrogation in a manner intended to force

Mr. Chatman to falsely confess.

     56.   Eventually, Defendants Roberts, Holmes, Mischka,

Boock, Midona, and Walsh overcame Mr. Chatman’s will through

improper means, and thereby succeeded in coercing him to sign a

false confession to the alleged rape.

     57.   Mr. Chatman’s resulting confession included various

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factual details that could only have been known by someone who

committed the crime, had it actually occurred, or by someone

with access to the police reports describing the alleged crime.

     58.   Mr. Chatman had no personal knowledge of the facts and

circumstances surrounding the alleged rape contained in his

confession.    Instead, Mr. Chatman was fed details of the crime

by Defendants Roberts, Holmes, Mischka, Boock, Midona, and

Walsh. Being totally innocent, and having no knowledge of

Defendant Riggio’s allegations, Mr. Chatman could not have

provided the information contained in his confession without

those Defendants having provided this information to him during

the course of his interrogation.

     59.   Not only did the Defendants feed Mr. Chatman all of

the details of the alleged crime, but Defendants Holmes,

Roberts, Midona, and Walsh walked Mr. Chatman through the crime

scene to ensure that he had first-hand knowledge of the crime

scene. These Defendants were subjectively aware that Mr. Chatman

had no information about the alleged rape, and they walked him

through the crime scene in order to provide him with the

relevant facts and circumstances to bolster his “confession.”

                           The Forensic Evidence

     60.   Not only did Mr. Chatman not commit the crime to which

he “confessed,” but there is no physical evidence to corroborate

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his supposed confession, or even the rape itself.

     61.     For example, Defendant Riggio claimed to have been

badly beaten by Mr. Chatman during what she claimed was a

vaginal and anal rape. However, the thorough medical examination

that Defendant Riggio underwent immediately after the alleged

assault revealed no tears, scrapes, bleeding, bruises, cuts,

lacerations, abrasions, or other injuries to her body, genitals,

or rectum.

     62.     Defendant Riggio’s clothing and swabs taken from her

body were subjected to clinical scrutiny, including DNA testing.

Neither Mr. Chatman’s semen, hair, nor any other genetic

material from Mr. Chatman (nor anyone else, for that matter) was

found on Defendant Riggio’s vagina, rectum, other body parts, or

clothing.

     63.     Mr. Chatman’s clothing was also collected shortly

after the alleged assault and analyzed by forensic scientists,

including by subjecting it to DNA testing. Despite an exhaustive

search, Defendant Riggio’s genetic material was not found

anywhere on Mr. Chatman’s body or clothing.

     64.     Defendant Riggio also claimed to have urinated on Mr.

Chatman and bit him on the left shoulder of his coat, and a pool

of urine was discovered at the crime scene. Extensive DNA

testing revealed that none of Defendant Riggio’s urine or saliva

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appeared anywhere on Mr. Chatman’s clothing.

     65.   Mr. Chatman’s fingerprints were not found anywhere at

the scene, even on the items the attacker allegedly touched,

such as the scissors allegedly held to Riggio’s neck.

     66.   In sum, none of the forensic testing linked Mr.

Chatman to the alleged sexual assault. None of the forensic

testing suggested that a sexual assault occurred at all.

                   Mr. Chatman’s Impossible “Escape”

     67.   Defendant Riggio claimed that her sexual assault

occurred at approximately 7:20 a.m. According to Riggio, the

entire incident, beginning when Chatman appeared at her office

door, lasted seven minutes.

     68.   As stated above, Defendant Riggio told one of her co-

workers, Jeannette Neibauer, about the alleged attack when

Neibauer arrived at work. Neibauer, who did not see Mr. Chatman,

reported Defendant Riggio’s purported attack to the authorities

at 7:37 a.m., some ten minutes after it supposedly ended.

     69.   By 7:41 a.m., the Sheriff’s Department locked down the

entire building, notifying all security posts to close the

building and prevent anyone from entering or exiting.

     70.   The Sheriff’s Department and a private security

company then conducted a floor-by-floor search for Defendant

Riggio’s alleged attacker.

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     71.    The search failed to locate anyone. More specifically,

Mr. Chatman was not seen anywhere inside the building, nor

leaving it.

     72.    The fact that Mr. Chatman was never found in or

leaving the building is particularly noteworthy. The Daley

Center was closed to the public before 8 a.m. At the time

Defendant Riggio claimed to be attacked, only authorized court

personnel were allowed in the building. Moreover, there were

very few people using the entrances or exits early that morning,

which was the Friday before Memorial Day weekend.

     73.    Any person attempting to enter or leave the Daley

Center during this time period would have been observed. Between

7 a.m. and 8 a.m., every exit from the Daley Center was guarded

by at least one Sheriff’s deputy, and video cameras were

stationed to record the exits.

     74.    Neither Mr. Chatman nor anyone fitting his description

appeared on security video taken of the Daley Center exits

between 6:30 and 8:20 a.m. on May 24, 2002. Not one of the ten

deputy sheriffs at the six doors exiting the Daley Center

between 7:00 and 8:00 a.m. saw Mr. Chatman leaving the building

or anywhere near the building.

           Riggio’s 1979 Allegations Against Edward Szymczak

     75.    As previously stated, Mr. Chatman’s case was not the

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first time that Defendant Riggio claimed that she had been raped

early in the morning in a large office building. Unbeknownst to

investigators on May 24, 2002, Defendant Riggio had made

identical allegations against another innocent man 20 years

before.

     76.   On October 23, 1979, Defendant Riggio claimed that she

was raped at her workplace.

     77.   In that alleged 1979 attack, as in the new one,

Defendant Riggio claimed that she arrived to work in the early

morning hours when none of her co-workers were present to

witness the events at a downtown office building. In the 1979

version, Defendant Riggio said she arrived between 6:45 and 7:00

a.m., whereupon one of the building’s janitors, Edward Szymczak,

supposedly showed her a knife, pushed her into the bathroom, and

attacked her.

     78.   Defendant Riggio claimed that Szymczak repeatedly

asked her name and told her to look at him, told her to remove

her clothing, and eventually sexually assaulted her. Defendant

Riggio said that she and Szymczak struggled before the rape.

Defendant Riggio further claimed that Szymczak kept asking her

name and told her to be quiet as he raped her. When the assault

ended, Defendant Riggio claimed that Szymczak told her to stay

in the bathroom, and he left, presumably to go back to work.

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     79.   Defendant Riggio claimed her alleged attacker spoke to

her in English, and she did not recall him having an accent.

     80.   Unbeknownst to Defendant Riggio, however, Szymczak was

a Polish immigrant who spoke no English and needed a Polish

translator for police interviews and later court proceedings.

     81.   Based on Defendant Riggio’s allegations, Szymczak was

charged with rape and unlawful restraint. He maintained his

innocence, insisting that he had nothing to do with Defendant

Riggio, and had raped no one.

     82.   Defendant Riggio retained legal counsel by November 6,

1979, less than two weeks after accusing Szymczak. She proceeded

to file a civil suit based on her allegations against Szymczak,

seeking in excess of four million dollars in damages. Her

lawsuit named as defendants the office building owners, the

building management company, the contracted janitorial service,

the contracted security company, and others.

     83.   In connection with the civil lawsuit Defendant Riggio

filed against the building and its security company arising out

of her allegations about the purported Szymczak rape, Defendant

Riggio ultimately settled her case and received a cash payment.

     84.   Due to the false accusations against him, Szymczak

fled to Poland and was never tried. After Defendant Riggio filed

her high-profile law suit, Szymczak sent a letter to the court

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proclaiming his innocence. The English translation of the letter

reads:

     To the Court of the State of Illinois:

     I have been charged with raping citizen Susan, without any
     evidence or basis for such accusation. I did not even know
     her. Because I have been in the United States for only a
     short period of time and do not have money for an attorney,
     I am forced to leave the country. I am very sorry to do
     that. Please forward this letter to citizen Susan, so she
     may once more think about what she is doing. If someone did
     rape her, they should be convicted and sentenced. However,
     if she has only made this whole thing up to make some
     money, she should earn money honestly and not like this.
     She should know that she will answer to God for her
     actions. I also ask that this Court not let this incident
     constitute a black mark on the record of my stay in the
     United States and on my life.

                                                  Sincerely,

                                                  Edward Szymczak


     85.    People who knew and worked with Szymczak were shocked

by the allegations against him; by all accounts, he was an

excellent employee who worked well with others and had no

reputation for behaving violently, abusively, or inappropriately

toward women or other people. Indeed, Szymczak’s employer,

Millard Maintenance, sent the following letter to the Polish

Consulate and the ACLU asking for assistance with exonerating

Szymczak:

     Can you be of assistance to a[n] employee of ours, who is
     [a] Polish immigrant, limited English, excellent work
     record, was switched to a different location, 625 N.

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     Michigan, and is being accused of rape. He cannot shoulder
     the financial payment of $6000 legal. The company is not in
     a position to defend him. We feel it is a bum rap. What
     are his alternatives.

     86.    Like Mr. Chatman, Szymczak’s life has been devastated

by Defendant Riggio’s false accusation of rape. Not only was he

forced to abandon his dream of working hard to make a life for

himself and his family in the United States, but he lives the

rest of his days under a cloud of Defendant Riggio’s false

accusations.

                Riggio’s Financial Motivations in 2002

     87.    Before Defendant Riggio made her allegations against

Mr. Chatman, she had again begun experiencing serious financial

problems.

     88.    Specifically, on April 29, 2002, less than one month

before her allegations against Mr. Chatman, Defendant Riggio and

her husband received a letter from the United States Internal

Revenue Service (“IRS”), notifying them that their tax return

for tax year 2000 was being audited.

     89.    The IRS audit frightened Defendant Riggio and her

husband; together, they had nearly $550,000 in gambling winnings

in 2000, which they had failed to report on their tax return

(and which they subsequently lost through even more gambling).

     90.    Less than one month after Defendant Riggio received


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notification that the IRS would audit her tax return, Defendant

Riggio claimed that she was attacked in the Daley Center. In her

lawsuit filed just after the claimed attack, Defendant Riggio

falsely inflated her damages.

        91.   When Defendant Riggio was first examined by a doctor

on May 24, 2002, she had no evidence of injury anywhere on her

body.

        92.   Four years later, however, at a deposition in the

civil litigation, Defendant Riggio claimed to have sustained

serious injuries as a result of Chatman’s alleged sexual

assault, including permanent damage to her internal and external

genitalia, which caused her genitals to hurt and to feel “dead”

and numb.

        93.   Defendant Riggio further claimed she suffered ongoing

damage to her groin muscle, broken teeth, and scarring to her

hip. None of these alleged injuries were noted in any of

Defendant Riggio’s medical visits in the months following the

alleged assault.

        94.   As of 2006, Defendant Riggio claimed that she was no

longer able to work for a living because she was unable to

perform any job as a result of her claimed sexual assault.

        95.   This was not the first time that Defendant Riggio

exaggerated her injuries in a lawsuit, just as this was not the

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first time that Defendant Riggio had falsely claimed rape and

sued. In 1989, Defendant Riggio was in a car accident. In the

subsequent legal action, she claimed that she contracted

Parkinson’s disease as a result of the impact.

     96.   Miraculously, Defendant Riggio’s Parkinson’s disease

somehow cured itself in the intervening years, to the point

where she no longer requires any treatment for it.

                   Defendants’ Additional Misconduct

     97. Although Defendant Riggio set the ball in motion, Mr.

Chatman’s wrongful conviction could not have occurred without

the other Defendants’ malfeasance.

     98.   The Law Enforcement Defendants committed one or more

of the following types of misconduct: coercing a false

confession from Mr. Chatman; withholding material exculpatory

evidence from Mr. Chatman; destroying exculpatory evidence; and

fabricating inculpatory evidence that was used to help convict

Mr. Chatman.

     99.   As stated above, Mr. Chatman was coerced to falsely

confess to a crime he did not commit by Defendants Holmes,

Walsh, Boock, Roberts, Mischka, and Midona. According to these

Defendants, Mr. Chatman freely confessed in detail to a violent

rape that he did not commit.

     100. What makes these Defendants’ misconduct even more

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egregious is that they took advantage of a mentally-compromised

and damaged individual in the process. Although civilian

witnesses who interacted with Mr. Chatman even for brief periods

of time during the week of May 20, 2002, described him as

“incoherent,” the Law Enforcement Defendants concealed any

suggestion of Mr. Chatman’s cognitive deficits from their

reports.

     101. Rather, Defendants Roberts and Holmes both maintained

that they had absolutely no difficulty in understanding Mr.

Chatman and that he had no problems communicating with them.

These representations were totally false.

     102. Upon being admitted to the Cook County Jail, Mr.

Chatman was given a five-minute screening of his physical and

mental health, during which intake personnel immediately

perceived that something was seriously wrong with Mr. Chatman,

who was promptly admitted to the acute care unit of the Jail.

Detainees are placed in the acute care unit only if they are

expressing mental health symptoms that require 24-hour

psychiatric care.

             Further Withholding Of Exculpatory Evidence

     103. Due to Defendants’ misconduct, Mr. Chatman was

deprived of crucial evidence that could have avoided his

wrongful conviction, including but not limited to the existence

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of a witness who could testify the rape never occurred, and

certainly not in the manner Defendant Riggio claimed.

     104. In particular Defendant Riggio claimed that she

engaged in an all-out fight for her life, screaming at least

three times for a deputy to come to her assistance.

     105.    When responding officers, including Defendants Deputy

Sergeant Maria Mokstad, Deputy Joseph Prince, and Deputy Michael

Cokeley, arrived at the crime scene, it turned out by chance

that a building employee, Cook County Sheriff’s Deputy Michael

Copeland, was fast asleep in the room directly next door to the

crime scene with his shirt off.

     106. Despite having been in the room next door to the

alleged attack, Copeland told the responding officers that he

heard no sign of any struggle whatsoever. In fact, the first

indication Deputy Copeland had that something was amiss was when

he heard the radios of other officers responding to a 911 call

about the supposed attack, well after the “attack” ended.

     107. On the morning of May 24, 2002, Defendants Cokeley,

Prince, Mokstad, and Deputy Lieutenant Cartrette all knew that

Deputy Copeland had been sleeping in the room next door to where

Defendant Riggio claimed to have been attacked.

     108. Indeed, that same morning, Defendant Cartrette had

Deputy Copeland handwrite a statement acknowledging that he was

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sleeping in room 2103A, next door to room 2101A, and that he

heard nothing until officers began responding to the allegation

that Defendant Riggio had been assaulted.

     109. Defendant Detectives McGreal and Pena interviewed

Defendants Cokeley, Prince, Mokstad, and Cartrette on May 24,

2002. Although each of these Defendants learned that Deputy

Copeland knew information that would exculpate Mr. Chatman,

these Defendants hid that information from the criminal justice

system and, as a result, from Mr. Chatman.

     110. In particular, there is no mention of Deputy

Copeland’s existence, let alone his nearby presence at the time

of the alleged attack, in any of the police reports tendered to

Mr. Chatman or his criminal defense counsel. Nor was there any

way for Mr. Chatman to discover this information once it was

hidden from him by these Defendants.

     111. Specifically, Defendant Cokeley communicated to

Defendant McGreal that he had seen Deputy Copeland sleeping in

the room next to where the crime alleged took place, and

Defendant McGreal proceeded to withhold that information from

the criminal prosecutors and Mr. Chatman’s defense.

     112. Pleading in the alternative, Defendant Cokeley did not

tell Defendant McGreal the information referenced in the

preceding paragraph, and instead intentionally suppressed it.

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     113. Defendant Prince communicated to Defendant Pena that

he had seen Deputy Copeland sleeping in the room next to where

the crime alleged took place, and Defendant McGreal proceeded to

withhold that information from the criminal prosecutors and Mr.

Chatman’s defense.

     114. Pleading in the alternative, Defendant Prince did not

tell Defendant Pena the information referenced in the preceding

paragraph, and instead intentionally suppressed it.

     115. Defendant Mokstad communicated to Defendant Pena that

he had seen Deputy Copeland sleeping in the room next to where

the crime alleged took place, and Defendant McGreal proceeded to

withhold that information from the criminal prosecutors and Mr.

Chatman’s defense.

     116. Pleading in the alternative, Defendant Mokstad did not

tell Defendant Pena the information referenced in the preceding

paragraph, and instead intentionally suppressed it.

     117.    Mr. Chatman lost over a decade of his life before he

was finally exonerated. During that time, his wife divorced him,

family members died, and Mr. Chatman was falsely branded a

rapist and incarcerated alongside some of the most dangerous

prisoners in our penal system.

     118.    Mr. Chatman now seeks to vindicate his rights by

holding those responsible for his injuries accountable for their

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actions.

                                    COUNT I

           42 U.S.C. § 1983 – Coerced and False Confession
                          (Fifth Amendment)

     119. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     120. In the manner described more fully above, Defendants

Holmes, Roberts, Walsh, Boock, Mischka, and Midona, acting as

investigators, individually, jointly, and in conspiracy with one

another, as well as under color of law and within the scope of

their employment, forced Plaintiff to incriminate himself

falsely and against his will, in violation of his rights secured

by the Fifth and Fourteenth Amendments.

     121. The false statements drafted by the Defendants and

attributed to Plaintiff were used against Plaintiff to his

detriment in a criminal case.

     122. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s innocence.

     123. As a result of Defendants’ misconduct described in

this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing


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injuries and damages as set forth above.

     124. The misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago in

that Chicago Police officers regularly used coercive measures to

obtain inculpatory statements from criminal suspects.

     125. This widespread practice of obtaining statements in

violation of the Fifth Amendment was so well-settled as to

constitute de facto policy in the Chicago Police Department, and

was allowed to exist because municipal policymakers with

authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

     126. Furthermore, the widespread practices described in the

preceding paragraphs were allowed to flourish because the City

of Chicago declined to implement sufficient training and/or any

legitimate mechanism for oversight or punishment, thereby

leading officers to believe that they could violate citizens’

constitutional rights with impunity.

     127. As a direct and proximate result of the City’s

actions, Plaintiff’s constitutional rights were violated and he

suffered injuries and damages, as set forth in this Complaint.

                                   COUNT II

          42 U.S.C. § 1983 – Coerced and False Confession
                       (Fourteenth Amendment)


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     128. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     129. In the manner described more fully above, Defendants

Holmes, Roberts, Walsh, Boock, Mischka, and Midona, acting as

investigators, individually, jointly, and in conspiracy with one

another, as well as under color of law and within the scope of

their employment, forced Plaintiff to incriminate himself

falsely and against his will, in violation of his right to due

process secured by the Fourteenth Amendment.

     130. As described in detail above, the misconduct described

in this Count consisted of physical and psychological coercion.

This misconduct to cause an obviously mentally-disabled

individual to falsely implicate himself in a vicious rape that

never occurred, was so severe as to shock the conscience, it was

designed to injure Plaintiff, and it was not supported by any

conceivable governmental interest.

     131. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s clear innocence.

     132.    As a result of Defendants’ misconduct described in

this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

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injuries and damages as set forth above.

     133. The misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago in

that Chicago Police Department officers regularly used coercive

measures to obtain inculpatory statements from criminal

suspects.

     134. This widespread practice of obtaining statements in

violation of the Fourteenth Amendment was so well-settled as to

constitute de facto policy in the Chicago Police Department, and

was allowed to exist because municipal policymakers with

authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

     135. Furthermore, the widespread practices described in the

preceding paragraphs were allowed to flourish because the City

of Chicago declined to implement sufficient training and/or any

legitimate mechanism for oversight or punishment, thereby

leading officers to believe that they could violate citizens’

constitutional rights with impunity.

     136. As a direct and proximate result of the City’s

actions, Plaintiff’s constitutional rights were violated and he

suffered injuries and damages, as set forth in this Complaint.




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                                   COUNT III

          42 U.S.C. § 1983 – Federal Malicious Prosecution1

      137. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

      138. In the manner described above, Defendant Holmes and

the Law Enforcement Defendants, acting as investigators,

individually, jointly, and in conspiracy with one another,

falsely accused Plaintiff of criminal activity and exerted

influence to initiate, continue, and perpetuate judicial

proceedings against Plaintiff without any probable cause for

doing so and in spite of the fact that they knew Plaintiff was

innocent, in violation of his rights secured by the Fourth and

Fourteenth Amendments.

      139. In so doing, these Defendants caused Plaintiff to be

subjected improperly to judicial proceedings for which there was

no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.

      140. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total


1
 Plaintiff recognizes that this Circuit currently holds that malicious
prosecution is not actionable under 42 U.S.C. § 1983 in Illinois. Other
Courts of Appeals have taken the opposite position. Plaintiff pleads the
claim here to preserve the issue for reconsideration in the Seventh Circuit
Court of Appeals or review in the Supreme Court of the United States.
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disregard of the truth and Plaintiff’s innocence.

     141.    As a result of Defendants’ misconduct described in

this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

     142. The misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago in

that Chicago Police Department officers regularly used

unconstitutional measures to falsely implicate criminal

suspects, including by coercing false confessions, withholding

exculpatory evidence, fabricating inculpatory evidence, and

otherwise instituting and continuing prosecutions maliciously

and without probable cause.

     143. This widespread practice of instituting and continuing

prosecutions maliciously and without probable cause through the

use of false confessions, fabrication of inculpatory evidence,

and withholding of exculpatory evidence was so well-settled as

to constitute de facto policy in the Chicago Police Department,

and was allowed to exist because municipal policymakers with

authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

     144. Furthermore, the widespread practices described in the

preceding paragraphs were allowed to flourish because the City

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of Chicago declined to implement sufficient training and/or any

legitimate mechanism for oversight or punishment, thereby

leading officers to believe that they could violate citizens’

constitutional rights with impunity.

     145. As a direct and proximate result of the City’s

actions, Plaintiff’s constitutional rights were violated and he

suffered injuries and damages, as set forth in this Complaint.

                                   COUNT IV

                     42 U.S.C. § 1983 – Due Process

     146. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     147. As described in detail above, the Law Enforcement

Defendants and Defendant Holmes, while acting individually,

jointly, and in conspiracy with one another, as well as under

color of law and within the scope of their employment, deprived

Plaintiff of his constitutional right to a fair trial.

     148. In the manner described more fully above, the Law

Enforcement Defendants and Defendant Holmes deliberately

withheld exculpatory evidence from Plaintiff and from the

prosecutors, among others.

     149. In addition, the Law Enforcement Defendants and

Defendant Holmes, acting as investigators, fabricated evidence

and solicited false evidence, including testimony that they knew

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to be false and perjured, and fabricated reports implicating

Plaintiff in the crime, obtained Plaintiff’s conviction using

that false evidence, and failed to correct fabricated evidence

that they knew to be false when it was used against Plaintiff at

his criminal trial.

     150. The Law Enforcement Defendants and Defendant Holmes’

misconduct directly resulted in the unjust criminal conviction

of Plaintiff, thereby denying his constitutional right to a fair

trial guaranteed by the Fifth and Fourteenth Amendments. Absent

this misconduct, the prosecution of Plaintiff could not have and

would not have been pursued.

     151. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s clear innocence.

     152. As a result of Defendants’ misconduct described in

this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

     153. The misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago in

that Chicago Police Department officers regularly used

unconstitutional measures to falsely implicate criminal

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suspects, including by coercing false confessions, withholding

exculpatory evidence, and fabricating inculpatory evidence.

     154. This widespread practice was so well-settled as to

constitute de facto policy in the Chicago Police Department, and

was allowed to exist because municipal policymakers with

authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

     155. Furthermore, the widespread practices described in the

preceding paragraphs were allowed to flourish because the City

of Chicago declined to implement sufficient training and/or any

legitimate mechanism for oversight or punishment, thereby

leading officers to believe that they could violate citizens’

constitutional rights with impunity.

     156. As a direct and proximate result of the City’s

actions, Plaintiff’s constitutional rights were violated and he

suffered injuries and damages, as set forth in this Complaint.

                                    COUNT V

 42 U.S.C. § 1983 – Conspiracy to Deprive Constitutional Rights

     157. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     158. Prior to Plaintiff’s conviction, all of the individual

Defendants, excepting those sued in their official capacity,

acting in concert with other co-conspirators, known and unknown,

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reached an agreement among themselves to frame Plaintiff for a

crime he did not commit and thereby to deprive him of his

constitutional rights, all as described in the various

paragraphs of this Complaint.

     159. In so doing, these co-conspirators conspired to

accomplish an unlawful purpose by an unlawful means. In

addition, these co-conspirators agreed among themselves to

protect one another from liability for depriving Plaintiff of

these rights.

     160. In furtherance of their conspiracy, each of these co-

conspirators committed overt acts and were otherwise willful

participants in joint activity.

     161. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s innocence.

     162. As a result of these Defendants’ misconduct described

in this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

                                   COUNT VI

                42 U.S.C. § 1983 – Failure to Intervene

     163. Plaintiff incorporates each paragraph of this

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Complaint as if fully restated here.

     164. In the manner described above, during the

constitutional violations described herein, one or more of the

Law Enforcement Defendants and Defendant Holmes stood by without

intervening to prevent the violation of Plaintiff’s

constitutional rights, even though they had the opportunity to

do so.

     165. As a result of these Defendants’ misconduct described

in this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

     166. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice,

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s innocence.

     167. The misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago in

that Chicago Police Department officers regularly failed to

intervene to prevent the violation of suspects’ constitutional

rights.

     168. This widespread practice of failing to intervene to

prevent the violation of suspects’ constitutional rights was so

well-settled as to constitute de facto policy in the Chicago

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Police Department, and was allowed to exist because municipal

policymakers with authority over the same exhibited deliberate

indifference to the problem, thereby effectively ratifying it.

     169. Furthermore, the widespread practices described in the

preceding paragraphs were allowed to flourish because the City

of Chicago declined to implement sufficient training and/or any

legitimate mechanism for oversight or punishment, thereby

leading officers to believe that they ignore the violation of

citizens’ constitutional rights with impunity.

     170. As a direct and proximate result of the City’s

actions, Plaintiff’s constitutional rights were violated and he

suffered injuries and damages, as set forth in this Complaint.

                      Count VII – 42 U.S.C. § 1983

                           Supervisory Liability

     171. Each paragraph of this Complaint is incorporated as if

restated fully herein.

     172. Plaintiff’s malicious prosecution and wrongful

conviction were caused by the intentional misconduct by the

supervisory defendants, including Defendants Walsh, Holy, and

Joria, or when they were deliberately, recklessly indifferent to

their subordinates’ misconduct, knowing that turning a blind eye

to that misconduct would necessarily violate Mr. Chatman’s

constitutional rights.

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     173. Specifically, these supervisory defendants were aware

of and facilitated, condoned, and oversaw the coercive tactics

used by some of the Defendants to obtain Plaintiff’s false

confession, or were deliberately, recklessly indifferent to

their subordinates’ unconstitutional tactics.

     174. Moreover, these supervisory Defendants were aware of

and facilitated, condoned, and oversaw the withholding of

exculpatory evidence, including but not limited to the existence

of the sleeping deputy referenced above, but failed to disclose

that information, or were deliberately, recklessly indifferent

to their subordinates’ unconstitutional actions in withholding

exculpatory evidence.

     175. In addition, these supervisory Defendants were aware

of and facilitated, condoned, and oversaw the fabrication of

inculpatory evidence, or were deliberately, recklessly

indifferent to their subordinates’ unconstitutional actions in

fabricating exculpatory evidence.

     176. The personal involvement of the defendant supervisors,

through their actions and omissions, proximately and directly

caused the constitutional deprivations and grievous personal

injuries suffered by Plaintiff, including the above-mentioned

injuries and damages.

     177. The misconduct described in this Count was objectively

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unreasonable, and was undertaken intentionally, with malice,

willfulness, and deliberate indifference to Plaintiff’s clearly

established constitutional rights.

                                  COUNT VIII

               State Law Claim – Malicious Prosecution

     178. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     179. In the manner described above, the individual

Defendants, excepting those sued in their official capacity,

acting as investigators, individually, jointly, or in conspiracy

with one another, as well as within the scope of their

employment, falsely accused Plaintiff of criminal activity and

exerted influence to initiate and to continue and perpetuate

judicial proceedings against Plaintiff without any probable

cause for doing so and in spite of the fact that they knew

Plaintiff was innocent.

     180. In so doing, these Defendants caused Plaintiff to be

subjected improperly to judicial proceedings for which there was

no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.

     181. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

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disregard of the truth and Plaintiff’s innocence.

     182. As a result of these Defendants’ misconduct described

in this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

                                   COUNT IX

 State Law Claim – Intentional Infliction of Emotional Distress

     183. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     184. The actions, omissions, and conduct of the individual

Defendants, excepting those sued in their official capacity, as

set forth above were extreme and outrageous. These actions were

rooted in an abuse of power and authority and were undertaken

with the intent to cause, or were in reckless disregard of the

probability that their conduct would cause, severe emotional

distress to Plaintiff, as is more fully alleged above.

     185. As a direct and proximate result of the Defendants’

actions, Plaintiff suffered and continues to suffer emotional

distress and other grievous and continuing injuries and damages

as set forth above.

                                    COUNT X

                  State Law Claim – Civil Conspiracy

     186. Plaintiff incorporates each paragraph of this

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Complaint as if fully restated here.

     187. As described more fully in the preceding paragraphs,

the individual Defendants, excepting those sued in their

official capacities, acting in concert with other co-

conspirators, known and unknown, reached an agreement among

themselves to frame Plaintiff for a crime he did not commit and

conspired by concerted action to accomplish an unlawful purpose

by an unlawful means. In addition, these co-conspirators agreed

among themselves to protect one another from liability for

depriving Plaintiff of these rights.

     188. In furtherance of their conspiracy, each of these co-

conspirators committed overt acts and were otherwise willful

participants in joint activity.

     189. The misconduct described in this Count was objectively

unreasonable and was undertaken intentionally, with malice, with

reckless indifference to the rights of others, and in total

disregard of the truth and Plaintiff’s innocence.

     190. As a result of these Defendants’ misconduct described

in this Count, Plaintiff suffered loss of liberty, physical and

emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.




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                                   COUNT XI

                      State Law Claim – Defamation

     191. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     192. Defendant Riggio published and caused to be published

intentionally false statements about or concerning Plaintiff

that she knew to be false, including repeatedly falsely accusing

Plaintiff of rape, and in so doing committed defamation per se.

     193. By engaging in the misconduct described in this Count,

Defendant Riggio made demonstrably false statements about and

concerning Plaintiff to third parties, and she caused those

statements to be widely published in major public newspapers

distributed throughout the entire world. The things Defendant

Riggio said about or concerning Plaintiff were malicious,

shocking, outrageous, and offensive, and Defendant Riggio made

these statements knowing that they were entirely false.

     194. The statements made by Defendant Riggio described

above are wholly untrue accusations of rape, which is a crime

that constitutes defamation per se in Illinois.

     195. Defendant Riggio acted with actual malice, reckless

intent and gross indifference to the false and misleading nature

of her statements about and concerning Plaintiff when she made

them to third parties.

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     196. These defamatory falsehoods were made with actual

malice by Defendant Riggio inasmuch as she knew of their falsity

or recklessly disregarded their truth or falsity.

     197. As a result of Defendant Riggio’s misconduct described

in this Count, Plaintiff suffered injuries, including but not

limited to reputational damages, great mental anguish,

humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and

damages.

     198. In particular, Defendant Riggio’s defamatory

publications have injured and continue to injure Plaintiff in

the following ways, among others: (a) by impugning Plaintiff’s

personal reputation in the community such that individuals who

Plaintiff interacts with question whether he is a rapist; (b) by

limiting Plaintiff’s employment options and his future career

prospects; (c) by causing Plaintiff to be prosecuted and

convicted for a crime he did not commit and spend over 11 years

wrongfully imprisoned; and (d) by subjecting Plaintiff to

harassment and additional persecution for a crime he did not

commit.

     199. The actions and omissions of Defendant Riggio set

forth in this Count demonstrate malice, egregious defamation,

and insult. Defendant Riggio’s actions and omissions were

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undertaken either with malice, spite, ill will, vengeance, or

deliberate intent to harm Plaintiff, or with reckless disregard

to the falsity of the speech and its effect on Plaintiff.

Accordingly, Plaintiff is entitled to punitive damages and

attorneys’ fees beyond those damages, described above, that will

compensate Plaintiff for injuries resulting from Defendant

Riggio’s conduct.

                                  COUNT XII

                State Law Claim – Respondeat Superior

     200. Plaintiff incorporates each paragraph of this

Complaint as if fully restated here.

     201. While committing the misconduct alleged in the

preceding paragraphs, Defendant Holmes and the Law Enforcement

Defendants were employees, members, and agents of the City of

Chicago, the Cook County Sheriff’s Department, and the Cook

County State’s Attorney’s Office, acting at all relevant times

within the scope of their employment.

     202. Defendants City of Chicago, Sheriff Dart, State’s

Attorney Alvarez, are liable as principals for all torts

committed by their agents.

                                  COUNT XIII

                   State Law Claim – Indemnification

     203. Plaintiff incorporates each paragraph of this

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Complaint as if fully restated here.

     204. Illinois law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment.

     205. Defendant Holmes and the Law Enforcement Defendants

were employees, members, and agents of the City of Chicago, the

Cook County Sheriff’s Department, and/or the Cook County State’s

Attorney’s Office, acting at all relevant times within the scope

of their employment in committing the misconduct described

herein.

     206. Cook County is obligated by Illinois statute to pay

any judgment entered against the Sheriff of Cook County in his

official capacity.

     207. Cook County is obligated by Illinois statute to pay

any judgment entered against Defendants Holmes or Alvarez.



     WHEREFORE, Plaintiff CARL CHATMAN, respectfully requests

that this Court enter a judgment in his favor and against

Defendants City of Chicago, Chicago Police Detective John

Roberts, Chicago Police Detective Thomas McGreal, Chicago Police

Detective Maria Pena, Chicago Police Detective Jack Boock,

Chicago Police Detective Rita Mischka, Chicago Police Detective

Barbara Midona, Chicago Police Sergeant Dennis Walsh, Chicago

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Police Officer Michael Karczewski, Chicago Police Officer

Richard Griffin, Chicago Police Lieutenant Joseph Joria, Chicago

Police Sergeant Bryan Holy, and unknown Chicago Police Officers,

along with the County of Cook, Assistant State’s Attorney Brian

Holmes, Cook County Sheriff’s Deputy Michael Cokeley, Cook

County Sheriff’s Deputy Joseph Prince, Cook County Sheriff’s

Deputy Sergeant Maria Mokstad, Cook County Sheriff’s Deputy

Lieutenant Burrough Cartrette, unknown Cook County Sheriff’s

Deputies, Thomas Dart in his official capacity as Sheriff of

Cook County, and Anita Alvarez in her official capacity as Cook

County State’s Attorney; together with Susan Riggio, awarding

compensatory damages, attorneys’ fees and costs against each

Defendant, punitive damages against each of the individual

Defendants, excepting those sued in their official capacities,

and any other relief this Court deems just and appropriate.




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                                 JURY DEMAND

     Plaintiff, CARL CHATMAN, hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.


                                            Respectfully submitted,

                                            Russell Ainsworth
                                            One of Plaintiff’s Attorneys


Arthur Loevy
Jon Loevy
Russell Ainsworth
Elizabeth Wang
LOEVY & LOEVY
312 N. May St., Ste. 100
Chicago, IL 60607
(312) 243-5900




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